                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                               Case No. 06-CR-140

ARTIS ECHOLES
                     Defendant.


                               SENTENCING MEMORANDUM

       Defendant Artis Echoles pleaded guilty to distributing heroin, 21 U.S.C. §§ 841(a)(1) &

(b)(1)(C),1 and I set the case for sentencing. In imposing sentence, I typically follow a three-

step procedure: (1) determine the advisory sentencing guideline range; (2) decide whether to

grant any departures pursuant to the Sentencing Commission’s policy statements; and (3)

select a sentence that is sufficient but not greater than necessary given all of the factors set

forth in 18 U.S.C. § 3553(a). E.g., United States v. Cull, 446 F. Supp. 2d 961, 962 (E.D. Wis.

2006); see also Rita v. United States, 127 S. Ct. 2456, 2465 (2007) (stating that the sentencing

judge will normally begin by considering the PSR and the guidelines, then hear arguments for

departures under the Commission’s policy statements and/or a non-guideline sentence based

on § 3553(a)). I followed that procedure in the present case, granting the government’s

departure motion under U.S.S.G. § 5K1.1 and imposing a sentence of 5 years probation under

§ 3553(a). This memorandum contains the reasons for the sentence imposed. See 18 U.S.C.

§ 3553(c).




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       The government also charged defendant with participation in a heroin distribution
conspiracy but permitted him to plead guilty to a single count of distribution.


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                                       I. GUIDELINES

      The pre-sentence report (“PSR”) set defendant’s offense level at 18 (base level 24,

U.S.S.G. § 2D1.1(c)(8), minus 3 for mitigating role in the offense, § 3B1.2, and minus 3 for

acceptance of responsibility, § 3E1.1) and his criminal history category at V, producing an

imprisonment range of 51-63 months. Neither side objected to the PSR’s calculations, which

I found correct and accordingly adopted.

                                      II. DEPARTURE

A.    Factors

      In ruling on a downward departure motion based on substantial assistance, I consider:

      (1) . . . the significance and usefulness of the defendant’s assistance, taking into
      consideration the government’s evaluation of the assistance rendered;

      (2) the truthfulness, completeness, and reliability of any information or testimony
      provided by the defendant;

      (3) the nature and extent of the defendant’s assistance;

      (4) any injury suffered, or any danger or risk of injury to the defendant or his
      family resulting from his assistance;

      (5) the timeliness of the defendant’s assistance.

U.S.S.G. § 5K1.1(a).

      I give substantial weight to the government’s evaluation of the extent of the defendant’s

assistance, U.S.S.G. § 5K1.1 cmt. n.3, but the extent of the departure is within my discretion.

In attempting to quantify the departure, I typically use the method suggested by the Seventh

Circuit of granting something on the order of a 2-level adjustment for each factor found to be

fully present, with a lesser reduction for those factors partially present. United States v.

Matthews, 463 F. Supp. 2d 916, 918 (E.D. Wis. 2006).


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B.     Analysis

       Defendant agreed to cooperate a few weeks after his arrest, debriefing about the others

involved in the conspiracy, including Greg Jackson, Jeffrey Person, Ryan Pierangeli, Mark

Garbo and Lee McGee. The government turned his debrief over in discovery, and all of the

other defendants in the case eventually pleaded guilty. Because Jackson and Afolabi – both

higher up in the conspiracy than defendant – came in earlier, the government considered

defendant’s information generally useful but probably not critical in securing pleas from the co-

conspirators.   However, defendant also provided information about Courtney and Allen

Wainwright, who were also obtaining heroin from Afolabi. Defendant and other cooperators

provided sufficient information to allow the government to indict a historical case against the

Wainwrights. A jury convicted Courtney Wainwright, and defendant testified at that trial.

Based on this cooperation, the government asked for a reduction of 30-35%.

       Under the first § 5K1.1 factor, I awarded 2 levels because defendant’s information was

significant and useful in securing convictions in this case and the Wainright case. I accepted

that the cooperation of others was a factor in both, but defendant was responsible at least in

part for numerous convictions of heroin traffickers in two cases. I also awarded 2 levels under

the second factor, because the government found defendant’s information truthful and reliable,

as apparently the Wainright jury did as well. Under the third factor, I awarded 2 levels because

the nature of the cooperation extended beyond the provision of information; defendant also

testified at a trial. I awarded no reduction under the fourth factor, as the record contained no

evidence of any particular danger or risk. Finally, I awarded 1 level under the fifth factor

because defendant agreed to cooperate shortly after his arrest, although there was no

evidence that the timing was particularly significant, as Jackson and Afolabi were already

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cooperating. Therefore, I granted a total reduction of 7 levels, making the revised range 24-30

months.

                                    III. SECTION 3553(a)

A.     Factors

       In imposing the ultimate sentence, the district court must consider all of the factors set

forth in § 3553(a). United States v. Harris, 490 F.3d 589, 593 (7th Cir. 2007), cert. denied, 128

S. Ct. 963 (2008). Those factors include:

       (1)    the nature and circumstances of the offense and the history and
              characteristics of the defendant;

       (2)    the need for the sentence imposed–

              (A) to reflect the seriousness of the offense, to promote respect for the law,
              and to provide just punishment for the offense;

              (B) to afford adequate deterrence to criminal conduct;

              (C) to protect the public from further crimes of the defendant; and

              (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;

       (3)    the kinds of sentences available;

       (4)    the advisory guideline range;

       (5)    any pertinent policy statements issued by the Sentencing Commission;

       (6)    the need to avoid unwarranted sentence disparities; and

       (7)    the need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).

       The statute requires the court, after considering these factors, to impose a sentence that

is “sufficient but not greater than necessary” to satisfy the purposes of sentencing – just


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punishment, deterrence, protection of the public and rehabilitation of the defendant. Id. In

determining a sufficient sentence, the district court may not presume that the guideline

sentence is the correct one. Rita, 127 S. Ct. at 2465 (2007); United States v. Demaree, 459

F.3d 791, 794-95 (7th Cir. 2006), cert. denied, 127 S. Ct. 3055 (2007). Rather, after accurately

calculating the advisory range so that it “can derive whatever insight the guidelines have to

offer, [the district court] must sentence based on 18 U.S.C. § 3553(a) without any thumb on the

scale favoring a guideline sentence.” United States v. Sachsenmaier, 491 F.3d 680, 685 (7th

Cir. 2007); accord United States v. Wachowiak, 496 F.3d 744, 749 (7th Cir. 2007); United

States v. Schmitt, 495 F.3d 860, 865 (7th Cir. 2007).

B.     Analysis

       1.     Nature of Offense

       Defendant joined a heroin distribution conspiracy headed by Greg Jackson and supplied

by Kazeem Afolabi. The parties agreed that his role was mitigated: he primarily purchased

heroin from Jackson to support his own habit, then distributed some of it to others, including

his wife, also an addict. The specific offense of conviction arose out of a controlled buy of 2

grams of heroin in September 2005.          The parties agreed that defendant did not profit

economically from his involvement buy rather participated to feed his own addiction. He had

little contact with the other conspirators and played no significant role in furthering the overall

conspiracy.

       2.     Character of Defendant

       Defendant was forty-eight years old and had a serious prior record, with convictions for

possession of a dangerous weapon, possession with intent to deliver, party to the crime of



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cocaine delivery, drug possession, disorderly conduct, and obstructing and resisting an officer.

He dropped out of high school and until recently had no employment record to speak of; as

alluded to above, he also developed serious substance abuse issues, using marijuana, cocaine

and heroin regularly for much of his life.

       However, since his arrest in this case in June 2006, defendant effected a remarkable

turn-around. After a lifetime of drug abuse, he stayed clean for nearly two years. He

participated in counseling at Genesis as part of his pre-trial release conditions, and his

counselor reported that he had an optimistic attitude. He also consistently worked for the first

time in his life, holding a job as a machine operator for about a year and a half. His employer

wrote a positive letter, describing defendant as a “hard and productive worker.” During his

allocution, defendant spoke proudly of his job and how it gave him a sense of worth.

       Defendant married in September 2005, and he and his wife recently had a child. As

indicated, defendant’s wife also experienced substance abuse problems, but she, like

defendant, made great strides in overcoming them. Defendant indicated that he and his wife

supported one another in this endeavor, and she in turn made positive statements about him.

Defendant had two adult children from a previous relationship, and during his allocution he

spoke about his failures with them. However, he realized he now had a second chance to be

a good father to his new child. Defendant’s mother, disabled by a stroke, indicated that

defendant was very helpful to her.

C.     Purposes of Sentencing

       The guidelines recommended 24-30 months in prison in this case, after the departure.

However, the statute of conviction permitted a sentence of probation, see 18 U.S.C. §

3553(a)(3), and under all of the circumstances I concluded that defendant deserved a chance

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to continue the progress he had made. Sending him to prison now, when he had made such

great strides, seemed counterproductive. Therefore, I imposed a sentence served in the

community.

       The offense was no doubt serious; heroin causes a tremendous amount of damage to

the community. However, defendant’s role in this particular offense was quite limited and

motivated by his own addiction; he earned no profit. Therefore, I concluded that confinement

in prison was not necessary to provide just punishment for defendant’s particular conduct. See

18 U.S.C. § 3553(a)(2)(A).2

       Defendant’s record suggested a risk of recidivism, but given the remarkable progress

he had made over the past two years – staying off drugs, steadily working, starting a new family

– I found that risk greatly reduced. If he continued on this path, he presented no threat to the

public and was not a risk to re-offend. See 18 U.S.C. § 3553(a)(2)(B) & (C). Defendant’s

efforts to cooperate with the government were also suggestive of a change in direction. In

some cases, cooperation has an almost mercenary quality, but in defendant’s case it appeared

to represent a desire to break from his old ways. Defendant obviously had treatment needs,

but he was dealing with those issues in the community, and I concluded that both defendant

and the public were best served by permitting him to continue those efforts. See 18 U.S.C. §

3553(a)(2)(D).

       Under all of the circumstances, I found a sentence of 5 years probation with a condition

of six months home confinement sufficient but not greater than necessary. This sentence



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        The guidelines provided some consideration for defendant’s limited role in the offense
under § 3B1.2, but they did not account for defendant’s motive in involving himself – to obtain
heroin for himself. Nor did they account for his post-offense rehabilitation.

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provided a sufficient measure of punishment, structure and monitoring, while also taking into

account the role of addiction in defendant’s conduct, his limited involvement and lack of

financial gain, and his significant post-offense efforts to rehabilitate himself.

                                       IV. CONCLUSION

       Therefore, I placed defendant on probation for five years. This sentence allowed me

to maintain a great degree of control over defendant to ensure that he stayed on the right path.

See Gall v. United States, 128 S. Ct. 586, 595 (2007) (“Offenders on probation are nonetheless

subject to several standard conditions that substantially restrict their liberty.”). Further, as I

warned defendant at sentencing, any violations could lead to revocation and a sentence of up

to 30 years. See 18 U.S.C. § 3565(a)(2) (stating that upon revocation of probation the court

may re-sentence the defendant under § 3553). This sentence varied somewhat from the

guidelines after the departure, but because it was well-supported by the § 3553(a) factors it

created no unwarranted disparity. See 18 U.S.C. § 3553(a)(6); see also Gall, 128 S. Ct. at 602

(upholding sentence of probation for drug offender who turned his life around). As conditions

of probation, I ordered defendant to serve six months of home confinement, participate in a

program of testing and treatment for substance abuse, and repay the buy money expended in

the case. Other terms and conditions of the sentence appear in the judgment.

       Dated at Milwaukee, Wisconsin, this 17th day of March, 2008.


                                           /s Lynn Adelman
                                           ________________________________________
                                           LYNN ADELMAN
                                           District Judge




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